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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
_______________________________________
                                        )
IN RE: TELEXFREE SECURITIES             )
LITIGATION                              )         CIVIL ACTION
                                        )         NO. 4:14-02566-TSH
                                        )
______________________________________ )



      ORDER AND MEMORANDUM ON DEFENDANT BANA’S MOTIONS FOR
        SUMMARY JUDMGENT AND TO STRIKE (Docket Nos. 1543 & 1619)

                                             6/27/2023
HILLMAN, S.D.J.

       This multi-district litigation involves dozens of defendants who allegedly aided and

abetted a fraudulent pyramid scheme run by TelexFree. Defendant Bank of America, N.A.

(“BANA”) moves for summary judgment, (Docket No. 1543), and to strike (Docket No. 1619).

For the reasons below, BANA’s motion to strike is denied and its motion for summary judgment

is granted.

                                           Background

       The factual background is taken from the parties’ undisputed material facts except where

noted. “A party opposing the motion shall include a concise statement of the material facts of

record as to which it is contended that there exists a genuine issue to be tried, with page

references to affidavits, depositions and other documentation.” Local Rule 56.1 (emphasis

added). Plaintiffs have submitted a concise statement, but have simply written “Denied” after

statements of BANA without referring to where in the record the genuine issues exist. “Material

facts of record set forth in the statement . . . will be deemed for purposes of the motion to be

admitted by opposing parties unless controverted by the statement required to be served by
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opposing parties.” Id. This Court deems all statements admitted for failure to abide by local rules

where plaintiffs fail to make references to the record. Cf. Cában Hernández v. Philip Morris

USA, Inc., 486 F.3d 1, 7-8 (1st Cir. 2007).

       BANA has moved to strike exhibits offered by the plaintiffs in support of their opposition

to the summary judgment motion, to strike the plaintiff’s counter-statement of material facts, and

for this Court to assess sanctions (Docket No. 1619). Plaintiffs have failed to comply with local

rules in opposing BANA’s statement of material facts and there does appear to be merit to

BANA’s argument that plaintiffs have—at the very least—played fast and loose with the record

in an attempt to create fact disputes where none exist. For instance, the plaintiffs deny that an

initial check was tendered to the IRS and argue that further discovery is required before they are

prepared to admit or deny BANA’s allegations regarding whether the check was denied. (1574,

at ¶¶ 27-28). However, in their opposition brief plaintiffs reference those allegations as true.

(Docket No. 1573, at 13). Although this Court declines to sanction plaintiffs, it puts them on

notice that future rules violations will not be tolerated. This aspect of the motion is denied. As

discussed below, in this order this Court does not consider the plaintiffs’ exhibits which are used

to support claims not pleaded in the complaint nor does it consider the portions of the counter-

statement of material facts that rested on those exhibits. Those aspects of the motion are denied

as moot.

       The plaintiffs’ counter-statement of material facts is not in strict compliance with the

Local Rules. Cf. Lippman v. Town of Grafton, 594 F. Supp. 3d 134, 140 n. 2 (D. Mass. 2022).

However, insofar as it is based on BANA’s own exhibits supporting its statement of material

facts, (Docket No. 1575, ¶¶ 1-4, 7-26), this Court considers it. Unlike the other portions of the

plaintiffs’ statement of material facts, which are not in any obvious opposition to BANA’s



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statement of material facts, these paragraphs dispute BANA’s contention that the $30 million

wire at the heart of this motion is “accounted” for. Furthermore, there is no dispute about the

authenticity of those documents. This portion of BANA’s motion to strike is denied.

       The plaintiffs bring this action on behalf of themselves and a putative class 1 of victims of

a Ponzi scheme perpetrated by TelexFree. As alleged in the plaintiffs’ Fifth Consolidated

Amended Complaint (“5CAC”), those who “invested” in TelexFree ostensibly did so to sell

Voice over Internet Protocol calling plans. However, the plans were “impossible to sell,” and

TelexFree would buy back unsold plans for more than three times the amount the investor paid

for them so long as the investor posted advertisements for TelexFree online every day. In

January 2013, Brazilian investigators launched an investigation into TelexFree that led to an

injunction in June 2013 that effectively ended business operations in that country. In 2013,

various enforcement agencies in the United States began investigations into TelexFree and on

March 9, 2014, TelexFree announced that investors would have to actually sell plans to make

money. Thereafter, the scheme rapidly unraveled as investors made over $150 million worth of

withdrawal requests and on April 14, 2014 TelexFree filed for bankruptcy. The scheme allegedly

relied on a host of third-party actors, including payment processors, various professionals, and

banks. The actors most relevant to this order are International Payout Systems (“IPS”), a

payment processor and co-defendant and BANA, a bank and co-defendant.

       As alleged in the 5CAC, IPS and BANA had business relationships with TelexFree in

2012. BANA closed its TelexFree accounts in May of 2013, but maintained accounts with IPS.

In late 2013, Gonzalez, an agent of IPS, met with Staten, an agent of BANA, and persuaded him

to reopen an account for TelexFree by assuring him that IPS would handle the payments and



       1
           This suit is still in the pre-certification phase.
                                                                3
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there would be fewer indicia of fraud going forward. Staten agreed, despite worrying that

TelexFree’s business model was not legal. That account was open three days, the full balance

was returned and no other credits or debits were made. On March 17, 2014, IPS initiated a wire

transfer in the amount of $30 million from its account at BANA to a TelexFree account at Wells

Fargo (“Account 8506”). There were no specific allegations in the complaint as to where the $30

million ended up.

       The theory of liability for most of the third parties—and the only one for BANA—is that

they “aided and abetted” the primary tortfeasors in defrauding investors. In Massachusetts, an

aiding and abetting claim requires actual knowledge and substantial assistance. BANA was

named in the first consolidated complaint as a defendant in 2015, was dismissed in 2019, and

was successfully renamed in the Fifth Consolidated Amended Complaint (5CAC) in 2021.

BANA moved to dismiss the claims against it, but this Court denied its motion, as well as its

motion for reconsideration. (Docket Nos. 1418, 1515). This Court held:

       [It is plausible] that [BANA] had actual knowledge that TelexFree was operating
       a fraudulent scheme by late 2013. By then, not only had TelexFree been shut
       down in Brazil, but [BANA] had closed TelexFree accounts due to suspicious
       activity and openly informed TelexFree that it was concerned that TelexFree was
       operating illegally . . . On March 17, 2014, it is plausible that [BANA] knew that
       TelexFree was operating a fraudulent pyramid scheme, that IPS was processing
       payments for the fraudulent scheme, and that the transfer from IPS to a TelexFree
       account at Wells Fargo Bank would further the scheme. TelexFree had been shut
       down in Brazil, [BANA] had previously closed TelexFree accounts, and [BANA]
       was concerned that TelexFree was operating illegally. Gonzalez had told Staten
       that IPS was processing payments for TelexFree . . . Here, it is at least plausible
       that the $30 million transfer enabled TelexFree insiders to abscond with investor
       funds, such as funds invested by plaintiffs, as the scheme unraveled.

(Docket No. 1418, at 11-14). In deciding the motion to dismiss and the motion to reconsider this

Court found substantial assistance plausible only in the wire transfer of $30 million. (Docket No.

1418, at 13-14); (Docket No. 1515, at 4-7). Earlier actions by BANA that might have amounted



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to substantial assistance were performed prior to it receiving actual knowledge (as alleged in the

complaint).

       Since then, discovery has revealed that when the $30 million was wired to Account 8506

on March 17, 2014 there was approximately $3 million in the account. On March 24, 2014,

TelexFree wrote a check to pay the IRS for approximately $16 million in income taxes. 2 The

proceeds of this check, via the bankruptcy trustee’s actions to recover the money from the IRS,

were eventually returned to the victims (minus a bad check fee). On April 3 and April 11, 2014,

cashier’s checks for the remaining balance of Account 8506 were withdrawn and the cashier’s

checks were seized by federal authorities and, on June 17, 2019, the proceeds were wired to the

bankruptcy estate. Collectively, the cashier’s checks and the check to the IRS amounted to

approximately $32 million—greater than the $30 million wire. In addition, the record reveals

there were approximately $1 million in debits from Account 8506 after March 17, 2014. These

included payments to law firms, tax authorities, and dozens of assorted companies and

individuals. As discussed below, there is no plausible allegation that any of those entities are

TelexFree insiders.

                                         Standard of Review

       Under Federal Rule of Civil Procedure 56(a), a court “shall grant summary judgment if

the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” An issue is “genuine” when a reasonable factfinder

could resolve it in favor of the nonmoving party. Morris v. Gov’t Dev. Bank of P.R., 27 F.3d 746,

748 (1st Cir. 1994). A fact is “material” when it may affect the outcome of the suit. Id. When

ruling on a motion for summary judgment, “the court must view the facts in the light most



       2
           An earlier check did not go through, which was drawn on March 19, 2014.
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favorable to the non-moving party, drawing all reasonable inferences in that party’s favor.”

Scanlon v. Dep’t of Army, 277 F.3d 598, 600 (1st Cir. 2002) (citation omitted).

        BANA brings this motion for summary judgment before the close of discovery—indeed,

there is a pending motion to compel discovery against it. Accordingly, plaintiffs have invoked

Federal Rule of Civil Procedure 56(d) (formerly Rule 56(f)) to defer or deny the motion pending

additional discovery. See Emigrant Residential LLC v. Pinti, 37 F.4th 717, 724 (1st Cir. 2022)

(the precedents concerning Rule 56(f) are still binding on Courts construing Rule 56(d) despite

minor textual changes). “[T]he crucial inquiry under Rule 56(d) is whether the movant has had a

full and fair opportunity to conduct discovery needed to mount an effective opposition to a

summary judgment motion.” Id. A party demonstrates this by providing the court with a

statement:

        that (i) explains his or her current inability to adduce the facts essential to filing
        an opposition, (ii) provides a plausible basis for believing that the sought-after
        facts can be assembled within a reasonable time, and (iii) indicates how those
        facts would influence the outcome of the pending summary judgment motion.

Vélez v. Awning Windows, Inc., 375 F.3d 35, 40 (1st Cir. 2004). 3 District Courts have

“considerable discretion” in considering the factors and may excuse or relax one or more of

them, or alternately deny the motion if one fails based on the circumstances of the case. Pinti, 37

F.4th at 725 (citations omitted). “[D]istrict courts should construe motions that invoke the rule




        3
           The First Circuit has seemingly grafted a five-prong standard onto that three-prong standard,
finding that a district court should consider “authoritativeness, timeliness, good cause, utility, and
materiality.” Pinti, 37 F.4th at 725 (citing Resolution Tr. Corp. v. N. Bridge Assocs., 22 F.3d 1198, 1203
(1st Cir. 1994)). The first two steps, authoritativeness and timeliness, concern the character and timing of
the plaintiffs’ statement, whereas the remaining three standards—identical in substance to the three
factors in Vélez—concern the content of the statement. Here, there is no question the affidavit offered by
the plaintiffs is authoritative nor is there any argument it was untimely. Therefore, this Court limits itself
to the three prongs announced in Vélez.
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generously, holding parties to the rule’s spirit rather than its letter.” Resolution Tr. Corp. v. N.

Bridge Assocs., 22 F.3d 1198, 1203 (1st Cir. 1994).

                                                  Analysis

        BANA, for the purposes of this motion, does not argue it lacked actual knowledge.

Instead, it argues that its actions caused no harm and that, if it did, its actions were not a

“substantial factor” in furthering the fraud that harmed the plaintiffs.

                                1. Causation and the Substantial Factor Doctrine

        Throughout their briefs, the parties refer to “proximate” cause. However, their arguments

address both “factual” and “proximate” cause. In Massachusetts, 4 as the Supreme Judicial Court

has recently held, 5 there is a clear distinction between “factual” cause and “proximate” cause.

Doull v. Foster, 487 Mass. 1, 16-17 163 N.E.3d 976, 990 (2021). Factual cause is a “but for”

test. Id. Although this Court has not had an opportunity to address factual causation in this

litigation, it finds that without factual causation, there can be no liability. Id. at 11, 986 (“Tort

law has long made this causal connection a prerequisite for imposing liability.”). That said, the

threshold for factual cause is low; there are always multiple causes of any harm and “most will

not be of significance for tort law.” Id. at 12, 987 (citing Restatement (Third) § 26 comment c).


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           The parties assume Massachusetts law applies, at least for the purposes of this motion.
        5
           In older cases, the First Circuit has held that “proximate cause” requires (1) foreseeability (2)
but-for causation and (3) that the defendant’s actions were a substantial factor in causing the harm.
Jorgensen v. Mass. Port Auth., 905 F.2d 515, 522-23 (1st Cir. 1990). After Doull, this formulation is no
longer correct. Although Doull post-dated the filing in this case, in Massachusetts “decisional law is
generally applied retroactively, unless doing so would fail to protect the reasonable expectations of
parties.” Shapiro v. City of Worcester, 464 Mass. 261, 268, 982 N.E.2d 516, 523 (2013). To determine
retroactivity, courts consider “(1) whether a new principle has been established whose resolution was not
clearly foreshadowed; (2) whether retroactive application will further the rule; and (3) whether
inequitable results, or injustice or hardships, will be avoided by a holding of nonretroactivity.” Id. Factor
(1) favors using the “substantial factor” test because the “the substantial factor test is a familiar standard
in Massachusetts.” Doull, 487 Mass. at 19, 163 N.E. 991. But retrospective application will further the
rule, which prevents confusion between legal and factual causation, and there are no “inequitable results”
in aiding and abetting cases because the substantial factor test still applies as a separate component of the
liability standard. Therefore, the principle announced in Doull will apply.
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Furthermore, there is no requirement that the defendant be the “but for” cause of all, or even

most, of the plaintiff’s harm.

        “[P]roximate cause is ‘based on considerations of policy and pragmatic judgment.’” Id. at

8, 983 (citing Kent v. Commonwealth, 437 Mass. 312, 320-21, 771 N.E.2d 770, 777 (2002)).

That analysis turns on the “reasonable foreseeability of the harm.” Jupin v. Kask, 447 Mass. 141,

147, 849 N.E.2d 829, 836 (2006) (citation omitted). This Court has found that such a test is

“embedded” in the substantial assistance prong of the aiding and abetting standard. (Docket No.

1418, at 14). Plaintiffs argue that proximate cause in aiding and abetting cases is satisfied by a

finding that the defendant’s actions were a “substantial factor in the [tortfeasor’s] ability to

perpetrate” the fraud. Mass. Port Auth. v. Turo Inc., 487 Mass. 235, 244, 166 N.E.3d 972, 981-82

(2021). Turo never discusses causation and the substantial factor test is not a replacement for the

standard foreseeability analysis. Instead, the substantial factor test is a separate and additional

requirement for aiding and abetting claims.

        To summarize, to satisfy the substantial assistance prong, the harm must have been a but

for cause of the harm (factual cause), it must have been a reasonably foreseeable result of the

defendant’s actions (proximate cause) and it must have been a substantial factor in helping the

principal tortfeasor’s ability to further the fraud.

                                                   2. The Harm

        The parties agree that the harm in question is the plaintiffs’ failure to receive the “pre-

March 9, 2014 return on investment” that were promised them. (5CAC, at ¶¶ 32-33). But they

disagree on the precise theory of liability that survived the motion to dismiss and how it must be

proven. The plaintiffs, as discussed below, make a variety of legally untenable claims. Those

claims can neither defeat summary judgment nor can they be the basis for a Rule 56(d) motion



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because no amount of discovery can “breath[] life” into those claims. Resolution Tr. Corp., 22

F.3d at 1207.

        BANA argues that this Court held that “[p]laintiffs plausibly alleged that TelexFree’s

founders absconded with the $30 million.” (Docket No. 1615, at 9). This Court held that “it is at

least plausible that the $30 million transfer enabled TelexFree insiders to abscond with investor

funds, such as funds invested by plaintiffs, as the scheme unraveled.” (Docket No. 1418, at 14)

(emphasis added). However, in their opposition to the summary judgment motion, the plaintiffs

seem to abandon an “abscond” theory, positing that they “have never alleged or argued that the

TelexFree insiders absconded with any money.” (Docket No. 1573, at 1 n. 2); contra (Docket

No. 1457, at 19) (“The Court’s conclusion that the 5CAC plausibly alleges that BANA’s

facilitation of this transfer substantially aided TelexFree in absconding with victim funds is

plainly correct and BANA’s arguments that the money was entirely recovered are baseless”); see

also (5CAC, at ¶¶ 13, 17, 292, 506) (allegations that TelexFree “insiders” absconded with

victim’s funds). Instead, plaintiffs now argue that “BANA facilitated the ability to collect money

from the victims and used it to perpetuate the scheme.” (Docket No. 1573, at 1-2 n. 2).

       Contrary to the plaintiffs’ argument, this is not a simple problem with “verb choice.” This

Court held—in contrast to the rulings made with regard to other defendants—that “it is at least

plausible that the $30 million transfer enabled TelexFree insiders to abscond with investor funds,

such as funds invested by plaintiffs, as the scheme unraveled.” (Docket No. 1418, at 14)

(emphasis added). On March 9, 2014—prior to the transfer at issue—TelexFree announced that

its promoters would have to sell their plans in order to make money. Indeed, in plaintiffs’

complaint they allege that their harm is in not realizing the “pre-March 9, 2014 return on

investment” that was promised to them. (5CAC, at ¶¶ 32-33). It is not that after March 9, 2014,



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TelexFree and its associates ceased to engage in fraud, but the nature of the fraud shifted. Prior

to that date, the fraud consisted of enticing new investors to put their money into the scheme,

ensuring that any withdrawals of older investors could be covered and money could be siphoned

off into the tortfeasors’ personal accounts. After that date, there were no new investors in the

Ponzi scheme. 6 Instead, as this Court found, TelexFree continued the fraud by attempting to

prevent pre-March 9, 2014 customers from receiving their promised returns, in part by

absconding with the existing funds. The plaintiffs fail to articulate how the March 17, 2014 wire

“facilitated the ability to collect money from the victims” (emphasis added), where they concede

their harm is limited to returns on pre-March 9, 2014 investments. Therefore, this Court proceeds

on the assumption the only relevant harm alleged was the insiders absconding with funds.

       The plaintiffs’ other arguments do not fare well. They argue that all transactions to Ponzi

schemes are presumptively fraudulent, obviating a causation analysis. See, e.g., In re Petters Co.,

Inc., 557 B.R. 711, 729 n. 26 (Bankr. D. Minn. 2016). That rule is inapplicable because it creates

a presumption of “fraudulent intent” in fraudulent transfer cases—it has nothing to do with

causation. In re Petters Co., Inc., 495 B.R. 887, 907 (Bankr. D. Minn. 2013), as amended (Aug.

30, 2013). This action is not an attempt to “clawback” the $30 million. Contra id.; see also In re

DBSI Inc., 593 B.R. 795, 800 (Bankr. D. Idaho 2018); In re Geltzer, 502 B.R. 760, 763 (Bankr.

S.D.N.Y. 2013); Carney v. Lopez, 933 F.Supp.2d 365, 370-71 (D. Conn. 2013); In re Pearlman,

478 B.R. 448, 449-50 (Bankr. M.D. Fla. 2012); In re World Vision Entm’t, Inc., 275 B.R. 641,

644-45 (Bankr. M.D. Fla. 2002). It is an attempt to establish the $30 million wire aided and

abetted the primary fraud. Those are completely distinct legal questions and the presumption




       6
          Some small number of people might have bought TelexFree products after March 9, 2014, but
there is no allegation that their payments facilitated the fraud.
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does not apply. 7 And to the extent a related doctrine might apply in the aiding and abetting

context, it would apply to active Ponzi schemes on the theory that the new money allows the

fraud to pay off older investors, creating the illusion of a viable enterprise. The transaction here,

as discussed in detail above, occurred after the Ponzi scheme stopped accepting new investors.

        Plaintiffs also argue that payments to Ponzi schemes should not be traced in a causation

analysis. S.E.C. v. Byers, 637 F.Supp.2d 166, 176-77 (S.D.N.Y. 2009) (collecting cases). But the

cases cited do not concern whether someone is liable for a Ponzi scheme, but the amount of

money that should be disgorged. That equity compels that the hardship be shared equally with

those who lost their initial investment, Donell v. Kowell, 533 F.3d 762, 779–80 (9th Cir. 2008),

does not compel the finding that someone who did not further the Ponzi scheme be held liable

for its harms.

        Plaintiffs spend a good portion of their briefing and Rule 56(d) affidavit under the

mistaken assumption that BANA is arguing that it can only be liable for $30 million in damages.

BANA is arguing that the $30 million did not cause harm or further the fraud. Those are legally

distinct propositions. For instance, plaintiffs argue that BANA is “liable” for more than the $30

million wire given that aiding and abetting liability leads to joint and several liability and

therefore this Court should not only focus on the wire. Likewise, the plaintiffs argue that the

defendant’s exact damages cannot be known at this time. Without passing judgment on extent of

BANA’s possible liability, these arguments put the cart before the horse. BANA is only liable at

all if the $30 million wire caused harm. Thus, these arguments cannot defeat summary judgment.




        7
           Also, in order to show that the Ponzi scheme presumption applies, a party must demonstrate that
the transfer is made “in furtherance of the scheme.” In re Peters Co., Inc., 495 B.R. at 907. That is at
issue in this summary judgment motion: whether the $30 million transfer furthered the scheme. Thus, it
offers no end-run around that fundamental question.
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        Plaintiffs argue that even if BANA could prove the money was eventually recovered, the

plaintiffs’ lack of access to the $30 million for a significant period—here, years—constitutes a

cognizable harm. See, e.g., Van v. LLR, Inc., 61 F.4th 1053, 1063-1064 (9th Cir. 2023). It is far

from clear that BANA’s actions caused the delay of the recovery of this money. 8 Again, the

allegation is that $30 million was wired from an IPS account at BANA to a TelexFree account at

Wells Fargo (Account 8506). This Court found that influx of cash could enable TelexFree

insiders to abscond with investor money. But if not for the $30 million wire, the $30 million

would—presumably—still be held by IPS. In any case, even if the money would have been

recovered from the IPS account, there is no allegation it would have been recovered more

quickly. In addition to failing factual causation, proximate cause fails as well. Plaintiffs seek to

hold BANA liable for the delay caused by bankruptcy proceedings and the federal investigation,

but those are precisely the types of superseding causes that break proximate causation. 9 Finally,

the delay caused by federal investigations and the bankruptcy proceedings cannot satisfy the

substantial factor test. The purpose of the substantial factor test is to ensure that liability in the

aiding and abetting context is not boundless. Cf. In re Chiquita Brands Int’l, Inc., 284 F. Supp.

3d 1284, 1306, n. 19, 1313-14 (S.D. Fla. 2018) (noting the importance of a “substantial factor”

test to prevent boundless liability under a statute that functionally creates aiding and abetting

liability). Even if the payments, somehow, led to a delay in recovery, that delay was the result of

non-defendants, not the primary tortfeasors’ attempts to further the fraud. This also forecloses

plaintiffs’ arguments that they only need to show a “few cents” flowed to the scheme. They must




        8
          The plaintiffs do not argue that the wire delayed the receipt of other money TelexFree held, with
the exception of the deficient argument regarding Greenberg Traurig discussed below.
        9
          Because of these new facts, the plaintiffs’ assertions that this Court has “already rejected”
BANA’s proximate cause arguments borders on incoherent.
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show the wire was a substantial factor in TelexFree insiders’ ability to abscond with victim

funds.

         This weakens most of plaintiffs’ arguments concerning the potential destination of $30

million wire. The plaintiffs are correct that BANA cannot disclaim responsibility for the debits

from that account merely because there was $3 million in the Account 8506 prior to the wire, and

the subsequent debits (approximately $1 million) were less than the $3 million in the account

prior to the wire. Once the money is comingled, a precise tracing analysis is impossible. But the

plaintiffs must show that the debits were a substantial factor in the insiders’ ability to abscond

with funds (or satisfy the requirements of Rule 56(d) to defer summary judgment).

                                  3. The Destination of the Wire’s Proceeds

         The plaintiffs do not carefully separate their standard opposition to summary judgment

and their Rule 56(d) arguments in discussing the proceeds of the wire. Although this Court

“hold[s] parties to the rule’s spirit rather than its letter,” Resolution Trust Corp., 22 F.3d at 1203,

the plaintiffs make almost no specific representations about future discovery in their opposition

brief; they merely make conclusory statements that discovery is not complete. That is insufficient

to invoke Rule 56(d). Id. at 1207. Instead, plaintiffs mostly rely on their separately filed affidavit

to invoke Rule 56(d), discussed separately below. Therefore, with one exception, this Court

analyzes the arguments about the proceeds of the wire under the ordinary summary judgment

standard. See (Docket No. 1573, at 19) (“As Plaintiffs have argued herein, a simple examination

of the account records for Wells Fargo Account #8506 provides enough basis to deny the

summary judgment motion as presented by BANA”). This is not just because a party must

invoke Rule 56(d) to enjoy its protections. Nieves-Romero v. United States, 715 F.3d 375, 381




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(1st Cir. 2013). It is because without an argument as to what discovery would support the theory

the plaintiffs put forward, this Court cannot analyze whether further discovery is warranted.

                                                   a. Rule 56(a)

        Plaintiffs argue that some of the proceeds of the wire were used to pay the law firm

Greenberg Traurig, which TelexFree enlisted to respond to state investigations of its practices in

2014. BANA argues that this theory of liability was not pleaded in the complaint. However,

unlike the other theories discussed below, this Court found it plausible that the $30 million wire

“enabled” insiders to abscond with investors’ promised pre-March 9, 2014 returns. The theory

that the wire was used to delay the recovery of plaintiffs’ funds is consistent with that order.

There is no requirement that the money “absconded” with is the $30 million in the wire. BANA

also argues that Greenberg Traurig is not a defendant. However, that is not dispositive.

        Regardless, under the ordinary summary judgment standard the plaintiffs’ argument fails.

The plaintiffs’ only argument in support of their theory that the payment to Greenberg Traurig

furthered the fraud is a reference to their complaint. References to pleadings alone are

insufficient to defeat summary judgment. Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986) (a

party opposing summary judgment must “go beyond the pleadings”). None of the exhibits put

forward by the plaintiffs regarding Greenberg Traurig establish that its representation led to a

delay in recovery by the victims—they only establish the fact of representation. This also defeats

their cursory allegation that the payment to the California Franchise Tax Board furthered the

fraud—an argument the plaintiffs spend no time explaining. 10 Indeed, the plaintiffs’ opposition



        10
           To be clear, this Court is not holding that either theory is inherently implausible. The Court is
holding that the plaintiffs have failed to abide by black-letter law in providing anything other than “the
mere pleadings themselves” to support their theory. Celotex, 477 U.S. at 324. The voluminous exhibits
the plaintiffs attach do nothing to support these theories—instead, they all support new theories not
pleaded in the complaint.
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brief reads more like an opposition to a motion to dismiss than an opposition to summary

judgment. Because the plaintiffs themselves disclaimed reliance on Rule 56(d) for most of those

arguments, the Court cannot offer them that escape valve.

                                                b. Rule 56(d)

        There are additional debits 11 from Account 8506 and plaintiffs argue that they “have not

yet had the opportunity to take depositions, but it certainly appears that the names of the

individuals and entities on the other wire transfers and checks are likely TelexFree insiders.”

(Docket No. 1573, at 13). This conclusory observation cannot defeat summary judgment, as

BANA points out. However, the reference to depositions is sufficient—barely—to invoke Rule

56(d). Therefore, this Court must consider whether depositions of those people who received

money would justify deferring a ruling on summary judgment: (1) whether there is justification

for the plaintiffs’ lack of discovery (2) whether it is plausible that discovery will lead to the

information plaintiffs claim it will, and (3) whether such information is material to the pending

motion. Vélez, 375 F.3d at 40. To be clear, the plaintiffs do not argue that these payments may

have furthered the fraud in any way other than directly lining the pockets of TelexFree insiders.

        The time for depositions has not yet arrived, so plaintiffs have satisfied (1). However, it is

not plausible, based on the plaintiffs’ representations, that material information is forthcoming.

BANA argues that:

        plaintiffs have known the payees’ identities for years, but never subpoenaed them
        for testimony, nor did Plaintiffs include any of the payees among the 150+
        individuals and entities whom plaintiffs identified as directly or indirectly related
        to TelexFree in the broad discovery requests they served on BANA. And
        Plaintiffs certainly never suggested in their 1,277-paragraph complaint that any of
        these payees was a TelexFree entity or insider, or otherwise associated with
        TelexFree in any way. Plaintiffs’ own actions refute their current representation to

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           The plaintiffs also reference credits to Account 8506. This Court does not understand how the
identity of those creditors has any relation to BANA’s possible liability. Account 8506 is not in BANA’s
control and whether or not other entities credited money into it is irrelevant to the instant motion.
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       the Court that these individuals possess “essential” evidence or are “likely
       TelexFree insiders.”

(Docket No. 1615, at 5) (citations omitted). For most of the payees, BANA is correct: while

paper discovery is pending, the fact that these entities are completely absent from the plaintiffs’

requests is telling, especially where significant discovery concerning the “core” TelexFree

entities has already occurred. Some of the more substantial debits went to entities, such as Liga

Telecom Inc. and Idt Domestic Telecom Inc., that are identified in the complaint as companies

that TelexFree insiders like Oliviera made payments to. See, e.g., (5CAC, at ¶ 499). And Oliviera

herself received a de minimis payment from the account after the wire. However, default entry

has been granted against Oliviera, (Docket No. 1646), and Liga Telecom and Idt Domestic

Telecom appear to be creditors of TelexFree. (Docket No. 1547-11, at 124, 994). This, combined

with the lack of interest in these entities during paper discovery, leads this Court to conclude it is

not plausible that the plaintiffs would discover that these recipients are “TelexFree insiders.”

Indeed, it is completely unclear to this Court what the plaintiffs’ plans for discovery are—the

plaintiffs never actually aver they plan to depose any of the entities who received payments. This

argument is advanced in a single paragraph. The bulk of the plaintiffs’ briefing either consists of

legal arguments, discussed above, that attempt end-runs around any requirement that they prove

the alleged actions actually furthered the fraud in question, or of an attempt to constructively

amend their complaint by relying on theories not adequately pleaded (or pleaded at all) in their

complaint, discussed below. Again, the plaintiffs simultaneously argue in their opposition brief

that they never argued that insiders absconded with funds, that their allegations are that BANA

facilitated the collection of new funds, and that discovery will reveal that TelexFree insiders

absconded with funds. Accordingly, this Court exercises its considerable discretion under Rule




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56(d), finding that it is not plausible that the plaintiffs will discover what they say they will—that

any of these entities are TelexFree insiders.

                                                4. New Theories

        Plaintiffs argue both in their opposition to summary judgment and their Rule 56(d)

affidavit that theories they failed to plead or which failed at the pleading stage might be proven

with additional discovery, notably that other transactions from the BANA account not mentioned

in the complaint constitute substantial assistance on BANA’s part and that future discovery will

lead to evidence of more transactions. The First Circuit is clear:

        Plaintiffs may not raise new and unadvertised theories of liability for the first time
        in opposition to a motion for summary judgment. Allowing a plaintiff to proceed
        on new, unpled theories after the close of discovery would prejudice defendants,
        who would have focused their discovery efforts on the theories actually pled.

Miranda-Rivera v. Toledo-Davila, 813 F.3d 64, 76 (1st Cir. 2016) (citation omitted) (emphasis

added). Theories not raised in the complaint cannot be used to defeat summary judgment. As

discussed above, the plaintiffs do not need to catalogue every way that an act of assistance

furthered the fraud in their complaint—it only needs to be plausible, at the motion to dismiss

stage, that it could. But the plaintiffs must actually plead the act that constitutes substantial

assistance. As to the Rule 56(d) affidavit, discovery has not closed, but the holding of Miranda-

Rivera still applies. Defendants are entitled to focus discovery on the “the theories actually pled.”

Plaintiffs have put forward no argument, either in their summary judgment motion or their

motion to compel, (Docket No. 1541), that would justify discovery on issues not pleaded in their

complaint. Cf. Bonner v. Triple-S Mgmt. Corp., 68 F.4th 677, 685-86 (1st Cir. 2023)

(highlighting the distinction between information related to the “subject matter” of the

complaint, which requires good cause on the part of the plaintiff, and information related to the

“claims or defenses,” which only needs to be relevant and not overly burdensome on the

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defendant); see also (Docket No. 1643) (denying motion to compel against non-party where the

plaintiffs only argument was that discovery would lead to evidence supporting dismissed

claims). Furthermore, plaintiffs have not sought leave to amend the complaint nor even

suggested they might. 12 To the extent the plaintiffs are arguing failed pleadings can be the basis

for a rule 56(d) deferral, their argument that no allegations from the complaint were “stricken”

even if they were dismissed is without merit.

             5. Rule 56(d) Affidavit

        The arguments put forward in the Rule 56(d) affidavit fail on plausibility and materiality

grounds. Vélez, 375 F.3d at 40. The plaintiffs aver that they have not had an opportunity to

conduct discovery on actual knowledge, including the relationship between BANA and IPS and

the relationship between BANA and Banc of America Merchant Services, a non-party. That is

immaterial; if plaintiffs cannot prove substantial assistance, one of the necessary prongs of aiding

and abetting liability, they cannot “breath[] life” into their claims. Resolution Tr. Corp., 22 F.3d

at 1207. The plaintiffs also argue they have not had a chance to depose the bankruptcy trustee or

any witnesses, but fail to specify at all what they hope to find that might defeat summary

judgment, nor do they identify, other than the bankruptcy trustee, who they plan to depose. This

Court will not speculate as to what material information the plaintiffs might find from such

depositions. Finally, plaintiffs argue that:

        an expert opinion will be able to establish that a financial institution that aids and
        abets a Ponzi scheme is jointly and severally liable for all damages that are
        created by the scheme after the financial institution’s act of substantial assistance
        in facilitating a transaction, regardless of whether the funds associated with that
        particular transaction are subsequently recovered after the total collapse of the
        Ponzi scheme.

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           BANA argues that the information in question was already available or held by plaintiffs.
Although this Court does not find it necessary to take a position on that argument, such an amendment
would be difficult to justify if the information they base these new theories of liability on were already in
their possession prior to filing the operative complaint.
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(Docket No. 1576, ¶ 15). Expert opinions on legal conclusions—like liability—are generally not

allowed. Nieves-Villanueva v. Soto-Rivera, 133 F.3d 92, 99 (1st Cir. 1997). Regardless, the

plaintiffs’ argument again puts the cart before the horse: they claim the expert will testify that “a

financial institution that aids and abets a Ponzi scheme is jointly and severally liable” (emphasis

added). But what they need to prove to defer summary judgment is a discovery plan that will

lead to evidence supporting its allegation that BANA “aid[ed] and abet[ed] a Ponzi scheme.”

Instead, the plaintiffs seem to think they have already prevailed on that issue and that the only

issue left for summary judgment is damages. Their Rule 56(d) affidavit does not provide

sufficient grounds for this Court to defer a summary judgment ruling.

                                              Conclusion

        BANA has advanced a cramped view of both this Court’s orders denying its motion to

dismiss and motion for reconsideration as well as its obligations in discovery. This Court’s order

should not be read by the other parties in this litigation as a vindication of those arguments.

Furthermore, BANA’s liability rested on a single transaction, made after March 9, 2014, creating

a very narrow theory of plausible liability.13 For the reasons above, the motion to strike is denied

and the motion for summary judgment is granted.


SO ORDERED

                                                                             /s/ Timothy S. Hillman
                                                                          TIMOTHY S. HILLMAN
                                                                        SENIOR DISTRICT JUDGE




        13
           In contrast to the vast majority of co-defendants, against whom the continuing provision of
services prior to March 9, 2014 was plausibly alleged.
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